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                                                IN THE UNITED STATES DISTRICT COURT
                                                   FOR THE DISTRICT OF COLORADO

   Civil Action No. 16-cv-01717-MSK-STV

   BILLY J. RADAN aka “Ms. JAYDE MOONSHADOW,”

                    Plaintiff,

   v.

   COLORADO DEPARTMENT OF CORRECTIONS,

                    Defendant.


                                 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


                  Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff Jayde MoonShadow, aka Billy J.

   Radan, through counsel, and Defendant Colorado Department of Corrections1 , through the

   Colorado Attorney General, submit this Joint Stipulation of Dismissal of the above-captioned

   case. In support thereof, the parties state they have reached a fully-executed settlement

   agreement in this action.

                  WHEREFORE, the above-captioned action should be dismissed in its entirety, with

   prejudice.

   Dated: September 21, 2018
                                                                   Respectfully submitted,

                                                                   STUDENT LAW OFFICE

                                                                   s/ Olivia Kohrs

   																																																													
   1
    The Court granted the parties’ Joint Motion to Substitute Party [Doc. 162], substituting Darren
   Lish and Rick Raemisch for the Colorado Department of Corrections as sole defendant in this
   action. [Doc. 163].
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                                              Counsel for Defendant


                                  CERTIFICATE OF SERVICE

        I hereby certify that on September 21, 2018, I electronically filed the foregoing JOINT
   STIPULATION OF DISMISSAL WITH PREJUDICE with the Clerk of Court using the
   CM/ECF system, which will send notification of such filing to the following email address:

          Kathryn Starnella
          Kathryn.starnella@coag.gov


                                                     s/ Danielle C. Jefferis
                                                      Danielle C. Jefferis


   	



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